NOT FOR PUBLICATION

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


JOAN MULLIN, ADMINISTRATRIX OF THE      CIVIL ACTION NO. 11-247 (MLC)
ESTATE OF ROBERT MULLIN, deceased,
and JOAN MULLIN, individually,                MEMORANDUM OPINION

     Plaintiffs,

     v.

ADMINISTRATOR KAREN BALICKI, et
al.,

     Defendants.


COOPER, District Judge

     The Plaintiffs, Joan Mullin, individually and as administratrix

of the estate of Robert Mullin, her son, (hereinafter “Plaintiffs”)

bring this action against the following individual defendants in

their “personal, individual and professional capacities” who

represent the Department of Corrections of the State of New Jersey,

South Woods State Prison, and Central Reception & Assignment

Facility: Administrator Karen Balicki (hereinafter “Balicki”);

Director Robert Patterson (hereinafter “Patterson”); and Director

Marie Dunlap-Pryce (hereinafter “Dunlap-Pryce”).     (See dkt. entry

no. 102, 2nd Am. Compl. (hereinafter “Compl.”).)1    Plaintiffs


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       Before the Court is Plaintiffs’ Second Amended Complaint.
(See dkt. entry no. 129, 3-8-13 Order at 1; dkt. entry no. 143, 5-
14-13 Order at 1 n.1.) References to “Complaint” hereinafter refer
to this Second Amended Complaint.
further bring this action against the following individuals in

their “personal, individual and professional capacities”: Jane

Byrd, L.P.N. (hereinafter “Byrd”); Erin Marusky, R.N. (hereinafter

“Marusky”); Officer Dimler (hereinafter “Dimler”); and Beatrice

Teel, R.N. (hereinafter “Teel”).   (See id.)   Plaintiffs also name

as defendants Kintock Group and Mercer County.    (See id.)

     Mercer County was dismissed from the action by stipulation of

the parties on March 22, 2011.    (See dkt. entry no. 15, Stip. of

Dismissal as to Mercer County.)    Plaintiffs also agreed to the

dismissal of the claims against Marusky by order of the Court on

May 2, 2013.   (See dkt. entry no. 139, 5-2-13 Order.)

     Before the Court are the separate motions by Byrd to dismiss

the claims asserted against her and by Balicki, Patterson, Dunlap-

Pryce, Dimler, and Teel (hereinafter “DOC Defendants”) to dismiss

the claims asserted against them for failure to state a claim

pursuant to Federal Rules of Civil Procedure 12(b)(6) and 12(c).

(See dkt. entry no. 144, Byrd’s Mot. to Dismiss; dkt. entry no.




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145, DOC Defs.’ Mot. to Dismiss.)2    For the reasons that follow,

the Court will deny the part of the motion to dismiss concerning

the individual-capacity, constitutional claims against Byrd, and

the Court will grant the remainder of the separate motions to

dismiss in their entirety.

                   I.   ALLEGATIONS IN THE COMPLAINT

     Plaintiffs’ claims are based on the suicide of Robert Mullin

(hereinafter “the decedent”) while incarcerated in the State of New

Jersey.   Specifically, Plaintiffs allege that the decedent was

incarcerated for about six to eight years through January 17, 2009,

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       Byrd and Dimler filed answers on October 24, 2012 and April
9, 2013 respectively. (See dkt. entry no. 108, Byrd Answer; dkt.
entry no. 134, Dimler Answer.)   Both preserved the grounds for
dismissal at issue before the Court by raising failure to state a
claim as an affirmative defense in their answers. With respect to
these two defendants, the motions pending are Rule 12(c) motions
for judgment on the pleadings for failure to state a claim since
these defendants have filed responsive pleadings. See Turbe v.
Gov’t of V.I., 938 F.2d 427, 428 (3d Cir. 1991) (stating that
Rule 12(b)(6) motions must be filed before a responsive
pleading, but that “[a] Rule 12(c) motion for judgment on the
pleadings may be filed after the pleadings are closed. . . .
Rule 12(h)(2) provides that a defense of failure to state a
claim upon which relief can be granted may also be made by a
motion for judgment on the pleadings.”); Fed.R.Civ.P. 12(h)(2).
As to the remaining defendants who have not filed responsive
pleadings, the pending requests for relief are pursuant to Rule
12(b)(6) for failure to state a claim upon which relief may be
granted. Counsel for Dimler described the nature of the request
for all the DOC Defendants as being pursuant to Rule 12(b)(6).
This was in error, as the filing of Dimler’s answer renders that
request to be pursuant to Rule 12(c). See Turbe, 938 F.2d at 428.
Byrd’s motion was properly labeled as a Rule 12(c) motion. Because
the standard for a Rule 12(b)(6) motion applies to both the Rule
12(c) and the Rule 12(b)(6) motions pending, see id., the Court
will hereinafter address them by reference to Rule 12(b)(6).

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the date of his death.   (Compl. at ¶ 11.)   In May of 2008, he was

transferred from prison to a halfway house operated and managed by

The Kintock Group (hereinafter “Kintock”).    (Id. at ¶ 12.)   The

decedent was to be released from Kintock around April to June of

2009 following his completion of the therapy, work studies, and

rehabilitative services.   (Id. at ¶ 13.)    However, while residing

at Kintock, the decedent had been fired from his job.    (Id. at ¶

23.)

       On January 15, 2009, while at Kintock, the decedent exhibited

a deterioration in his mental status and became aggressive.     (Id.

at ¶ 14.)   Illegal substances, including cocaine and opiates, were

found in his possession.   (Id. at ¶ 15.)    Also, in the presence of

a Kintock caseworker, the decedent swallowed a handful of pills

that he identified as medication for depression.    (Id. at ¶ 16.)

       The decedent was subsequently transferred to South Woods State

Prison, where he was medically evaluated, and he tested positive

for opiates and cocaine.   (Id. at ¶¶ 17-18.)    On January 16, 2009,

he was transferred to the Central Reception & Assignment Facility

(hereinafter “CRAF”), “under the custodial care, supervision,

management and control” of Balicki, Patterson, and Dunlap-Pryce

(hereinafter “Supervisory Defendants”).     (Id. at ¶ 18.)   Plaintiffs

further allege that between January 15 and 17, 2009, the decedent

“also was treated by and was under the custodial care, supervision,



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management, and control of the Trenton Psychiatric Hospital,” and

its employees and staff.   (Id. at ¶ 19.)

     Plaintiffs allege that Kintock’s file on the decedent

indicated that he had an extensive drug history and a high risk of

abusing drugs and alcohol.   (Id. at ¶¶ 21-22.)    Also, Plaintiffs

allege that the decedent had a history of mental illness and

suicide attempts.   (Id. at ¶¶ 24, 40.)    At various points from 2005

until the time of his death, the decedent had been hospitalized for

mental illness, had used medication for his psychiatric conditions,

and had considered or attempted suicide.    (Id. at ¶¶ 40-41, 43-49.)

The Complaint alleges that this was reflected in various medical

records and intake forms; however, with the exception of the

records from Kintock, the Complaint does not allege that the

defendants had actual knowledge of these records or the information

contained therein in January of 2009.     (See, e.g., id. at ¶¶ 40-41,

43-48.)

     On January 14, 2009, three days before his death, the

decedent’s medical records reflect that he “was seen at South Woods

State Prison, following a transfer from Kintock to Detention/ECU,

and the diagnosis of ‘mood disorder,’ a family history of suicide,

and a history of being a suicide risk.”     (Id. at ¶ 49.)   The

Complaint does not indicate whether the particular defendants in




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this matter were aware of the January 14, 2009 records or their

content.

     According to the Complaint, Byrd and Teel, as agents of the

Supervisory Defendants, examined and evaluated the decedent on

January 16, 2009.   (Id. at ¶ 39.)       Byrd performed a nursing intake

on this date, and the decedent allegedly responded in the

affirmative to the following questions: (1) “have you ever been

hospitalized or treated for psychiatric illness”; and (2) “have you

ever considered or attempted suicide.”       (Id. at ¶ 50.)   The

decedent’s medical records from this same date included a

“diagnosis of ‘mood disorder,’ a family history of suicide, and a

history of being a suicide risk.”        (Id.)   On January 16, 2009 at

CRAF or South Woods State Prison, Byrd cleared the decedent

medically for placement in the general prison population.        (Id. at

¶¶ 51, 56.)

     At approximately 4:23 AM on January 17, 2009, Dimler, who was

allegedly the corrections officer responsible for caring for and

treating the decedent, found the decedent unresponsive after the

decedent had hung himself with what limited records indicate was a

self-made noose from a bed sheet.        (Id. at ¶¶ 25-26.)   After this

discovery, Teel was summoned, an unnamed officer or medical

provider performed CPR, and the decedent was pronounced dead at

4:49 AM.   (Id. at ¶¶ 30-31, 57.)



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     The Complaint asserts that Kintock failed to advise or notify

Byrd, Teel, and Dimler about the decedent’s mental-health and

substance-abuse issues.   (Id. at ¶ 56.)   The Complaint further

alleges that Dimler and Teel “knew or should have known” of the

decedent’s history of attempted suicide, mental illness, and

substance abuse from the transfer records from Kintock.       (Id. at ¶¶

27, 33.)    The Complaint alleges that they failed to “review,

evaluate, or follow” transfer records from Kintock in determining

what level of care to provide to the decedent, including treatment

for his intoxication and one-on-one supervision.    (Id. at ¶ 36.)

The Complaint asserts that Byrd and Teel failed to evaluate the

decedent for intoxication, as was required by policy and procedure.

(Id. at ¶ 53.)    According to the Complaint, had these defendants

properly evaluated the decedent and reviewed his medical records,

the decedent “would have been transferred to the infirmary and/or

been placed under constant supervision without the ability to harm

himself.”    (Id. at ¶ 54.)   Moreover, Dimler and Teel purportedly

“knew that policy and procedure required direct and constant

supervision and monitoring, and yet failed to abide by said policy

and procedure, evidencing a gross indifference” to the decedent’s

welfare.    (Id. at ¶¶ 28, 34.)   Specifically, both permitted the

decedent to be in a cell with materials including bed sheets that

could be used to inflict self-harm.     (Id. at ¶¶ 29, 36.)



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     According to the Complaint, the decedent’s history of suicide

attempts, mental-health issues, and recent drug abuse were known or

should have been known to Dimler, Teel, Byrd, Kintock, and the

Supervisory Defendants.     (Id. at ¶¶ 60-64.)   However, the

individual defendants, including Teel and Dimler, failed to provide

adequate supervision to the decedent.    (Id. at ¶¶ 60-61.)     The

Complaint alleges that the failures of these individual defendants

“were the direct and proximate cause of the self-harm and suicide

by” the decedent.   (Id. at ¶ 55.)

     The Complaint also asserts that the Supervisory Defendants

failed to follow their own policy and procedure requiring them to

familiarize themselves with an inmate’s transfer records and failed

to ensure that the decedent was properly treated and supervised for

drug addiction and suicide risk.     (Id. at ¶¶ 64-65.)   The Complaint

also claims that these Supervisory Defendants failed to enact and

enforce procedures and policies that required their staff to review

transfer records or that provided for the treatment of

intoxication, and these failures foreseeably led to the decedent’s

suicide.   (Id. at ¶ 66.)

     Plaintiffs initially brought this action on January 14, 2011;

however, the complaint at issue before the Court is the Second

Amended Complaint, which was filed September 21, 2012.     The

Complaint asserts six counts pursuant to 42 U.S.C. § 1983



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(hereinafter “section 1983”) and the New Jersey Civil Rights Act

(hereinafter “NJCRA”), N.J.S.A. 10:6-1 et seq.:

     (1) deprivation of the decedent’s constitutional rights
        under the Fourteenth, First, Fourth, Fifth, and Sixth
        Amendments of the United States Constitution (id. at ¶¶ 73-
        94);

     (2) deprivation of the decedent’s constitutional rights
        under the New Jersey Constitution, Article 12, the right to
        be free from cruel and unusual punishment, and Article 1,
        the right to due process (id. at ¶¶ 95-104);

     (3) negligent hiring, training and supervision of employees
        and agents (id. at ¶¶ 105-18);

     (4) intentional and negligent infliction of emotional
        distress (id. at ¶¶ 119-34);

     (5) abuse of process by Supervisory Defendants and Kintock
        (id. at ¶¶ 135-44); and

     (6) medical malpractice by, inter alia, Byrd and Teel (id.
        at ¶¶ 145-62).

Plaintiff seeks compensatory and punitive damages, funeral

expenses, interest, attorneys’ fees, and litigation costs.

                        II.   GOVERNING STANDARD

     When considering a motion to dismiss for failure to state a

claim, the court must accept the facts pleaded in the complaint as

true and draw all inferences in favor of the plaintiff.    Phillips

v. Cnty. of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008).   “[O]nly a

complaint that states a plausible claim for relief survives a

motion to dismiss.”   Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

“A claim has facial plausibility when the plaintiff pleads factual



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content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.”   Id. at 678.

This plausibility standard is not a “probability requirement.”      The

standard merely requires “more than a sheer possibility that the

defendant has acted unlawfully.”    Id.; see also Phillips, 515 F.3d

at 234.

     “[T]he tenet that a court must accept as true all of the

allegations contained in a complaint is inapplicable to legal

conclusions.   Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.”

Iqbal, 556 U.S. at 678.   Legal conclusions “must be supported by

factual allegations.”   Id. at 679.

     A civil-rights complaint must “‘contain a modicum of factual

specificity, identifying the particular conduct of defendants that

is alleged to have harmed the plaintiffs.’”   Freedman v. City of

Allentown, 853 F.2d 1111, 1114 (3d Cir. 1988) (quoting Ross v.

Meagan, 638 F.2d 646, 650 (3d Cir. 1981)).3   The court must look

past any conclusory allegations regarding the willfulness of the

defendants’ conduct or the defendants’ reckless disregard of the

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       Plaintiffs assert civil-rights claims under section 1983 and
under the NJCRA, the state counterpart of section 1983 for
violation of rights secured under New Jersey’s Constitution. See
Green v. Corzine, No. 09-1600, 2011 WL 735719, at *7 (D.N.J. Feb.
22, 2011). The “NJCRA is generally interpreted to be coextensive
with its federal counterpart.” Id. Unless otherwise stated, the
analysis and determinations with respect to the section 1983 claims
apply equally to claims under the NJCRA.

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rights of the victim; the court will focus on “the factual scenario

itself to examine whether the conduct alleged, viewed most

favorably to plaintiffs, is reasonably susceptible to falling

within the conclusions alleged.”    Id. at 1115.

     In situations in which more specific allegations may

demonstrate that the conduct at issue falls within section 1983’s

ambit, district courts are required to permit amendment to the

complaint.   Id. at 1114.   “Furthermore, when the lack of factual

specificity is fairly attributable to defendants’ control of

required information, we have permitted the action to proceed to a

reasonable amount of discovery to help [plaintiff] make the

necessary showing to prove her case.”    Id. (internal quotation

marks and citation omitted).

                               III. ANALYSIS

A.   Official-Capacity Claims4

     Balicki, Patterson, Dunlap-Pryce, Dimler, Teel, and Byrd

(hereinafter “Movants”) seek dismissal of the official-capacity

claims (both state and federal) asserted against them based on

state-sovereign immunity under the Eleventh Amendment.   The

Eleventh Amendment states, “The judicial power of the United States


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       Plaintiffs have named several of the individual defendants
in their “personal, individual, and professional capacities.”
Based on the nomenclature in our federal jurisprudence, the Court
construes this to mean that the individuals are sued in their
individual and official capacities.

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shall not be construed to extend to any suit in law or equity,

commenced or prosecuted against one of the United States by

citizens of another state, or by citizens or subjects of any

foreign state.”   U.S. Const. amend. XI.   With a few exceptions, the

Eleventh Amendment prevents a state entity from being a defendant

in a lawsuit.   This state-sovereign immunity extends to state

officials who are sued for money damages in their official

capacities.   See, e.g., Kentucky v. Graham, 473 U.S. 159, 169-70

(1985).   However, Congress can abrogate state-sovereign immunity

through an unequivocal expression, or a state can waive its own

immunity to suit.   Coll. Sav. Bank v. Fla. Prepaid Postsecondary

Educ. Expense Bd., 527 U.S. 666, 670 (1999).

     The parties do not dispute that Movants are state officials,

and thus, when sued in their official capacities, the Eleventh

Amendment issues arise.   In this case, the Complaint seeks monetary

damages as opposed to prospective relief against these state

officials sued in their official capacities.    Congress did not

abrogate state-sovereign immunity in section 1983.   Graham, 473

U.S. at 169 n.17.   And the State of New Jersey has not waived its

sovereign immunity in federal courts.   Thus, none of the exceptions

to the Eleventh Amendment’s bar on monetary relief against state

officials in their official capacity are present in this case.




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     In addition to these immunity issues, there are other

deficiencies with respect to Plaintiffs’ official-capacity claims

pursuant to section 1983, which provides:

     Every person who, under color of any statute, ordinance,
     regulation, custom, or usage, of any State or Territory
     or the District of Columbia, subjects, or causes to be
     subjected, any citizen of the United States or other
     person within the jurisdiction thereof to the
     deprivation of any rights, privileges, or immunities
     secured by the Constitution and laws, shall be liable to
     the party injured in an action at law, suit in equity,
     or other proper proceeding for redress . . . .

42 U.S.C. § 1983.   But states, and state officials in their

official capacities, are not “persons” for section 1983 purposes.

Will v. Mich. Dep’t of State Police, 491 U.S. 58, 64-65 (1989).

     Because Movants in their official capacities are immune from

suit and because they are not “persons” under section 1983, the

Court will dismiss the portions of the Complaint seeking relief

against these state officials in their official capacities.    In

fact, having realized their mistake of law, Plaintiffs have stated

that they are willing to stipulate that there is no official-

capacity liability in this matter.    (See dkt. entry no. 147, Pls.’

Opp’n to DOC Defs.’ Mot. to Dismiss at 11-13; dkt. entry no. 148,

Pls.’ Opp’n to Byrd’s Mot. to Dismiss at 9.)    Any references in the

Complaint to official-capacity liability will no longer be viable.




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B.    Individual-Capacity Claims

      The Eleventh Amendment does not bar the individual-capacity

claims, and state officials in their individual capacities are

“persons” for the purposes of a section 1983 suit.    Hafer v. Melo,

502 U.S. 21, 30-31 (1991).

      1.    State Common-Law Claims

      With respect to the common-law claims against the Movants in

their individual capacities, New Jersey state law pursuant to New

Jersey’s Tort Claims Act (hereinafter the “TCA”) limits the

circumstances in which state officials and state entities can be

held liable for negligence under state law.   N.J.S.A. 59:1-1 to 12-

3.   Because the TCA applies only to state-law claims and “provides

no immunity” from constitutional claims brought under section 1983,

Tice v. Cramer, 627 A.2d 1090, 1105 (N.J. 1993), the Court will

analyze the remaining individual-capacity state common-law claims

separately from the constitutional claims.

      Movants have asserted that the alleged conduct at issue is

shielded from liability under state law by the TCA.   Specifically,

Movants argue that, pursuant to N.J.S.A. 59:6-5 and 6-6, public

entities and employees are immune for “failing to diagnose a mental

condition, and for any decision to confine a person for mental

illness.”   (DOC Defs.’ Mot. to Dismiss at 14; see also Byrd’s Mot.

to Dismiss at 8, 11.)   Those sections provide:



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     a.   Neither a public entity nor a public employee is
     liable for injury resulting from diagnosing or failing
     to diagnose that a person is afflicted with mental
     illness or is a drug dependent person or from failing to
     prescribe for mental illness or drug dependence;
     provided, however, that nothing in this subsection
     exonerates a public entity or a public employee who has
     undertaken to prescribe for mental illness or drug
     dependence from liability for injury proximately caused
     by his negligence or by his wrongful act in so
     prescribing.
     b.   Nothing in subsection a. exonerates a public entity
     or a public employee from liability for injury
     proximately caused by a negligent or wrongful act
     or omission in administering any treatment prescribed
     for mental illness or drug dependence.

N.J.S.A. 59-6-5.

     Neither a public entity nor a public employee is liable
     for any injury resulting from determining in accordance
     with any applicable enactment: (1) whether to confine a
     person for mental illness or drug dependence; (2) the
     terms and conditions of confinement for mental illness
     or drug dependence; (3) whether to parole, grant a leave
     of absence to, or release a person from confinement for
     mental illness or drug dependence.

N.J.S.A. 59:6-6.

     Courts interpret these provisions broadly, and close calls in

application are resolved in favor of immunity, not liability.    See,

e.g., Charpentier v. Godsil, 937 F.2d 859, 865 (3d Cir. 1991);

Greenway Dev. Co. v. Bor. of Paramus, 750 A.2d 764, 767 (N.J.

2000); Ludlow v. City of Clifton, 702 A.2d 506, 508 (N.J. App. Div.

1997); Perona v. Twp. of Mullica, 636 A.2d 535, 539 (N.J. App. Div.

1994).   These provisions reflect and advance New Jersey’s public




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policy in favor of providing immunity to public employees for their

discretionary decision making.    Perona, 636 A.2d at 539, 541.

     The New Jersey Appellate Division stated that the immunity

conferred by N.J.S.A. 59:6-6 is not limited only to confinement

within a “mental institution” and that the linchpin for such

immunity “is a discretionary decision whether to confine a person

for the care and treatment of mental illness rather than the

particular type of facility in which a person may be confined.”

Ludlow, 702 A.2d at 508.   Immunity is also not limited to

physicians and can apply to any public employee, including police

officers.   Perona, 636 A.2d at 539.   Additionally, immunity is not

limited to final decisions on whether to confine a person for

mental illness; it applies to all determinations in the commitment

process.    Ludlow, 702 A.2d at 508.

     The broad construction of these immunities has led courts to

apply them in a wide range of circumstances.     For example, the

Appellate Division in Perona v. Township of Mullica found that

police officers were immune from suit in circumstances similar to

those presented by this case.    636 A.2d 535.   The police officers

had responded to a domestic violence complaint and learned that Mr.

Perona was attempting to prevent Mrs. Perona from taking a walk by

herself because she had written him what he interpreted to be a

suicide note.   Id. at 537.   Mrs. Perona denied having suicidal



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intent, indicating that the note merely reflected her wishes if she

were to fail to return home -- if she decided to hitchhike for

example.    Id.   The officers were satisfied with her explanation and

left the Peronas’ home.    Shortly thereafter, Mrs. Perona attempted

suicide by walking in front of traffic on a nearby highway.    Id.

The Appellate Division concluded that the officers’ decision not to

take Mrs. Perona into custody or confinement was immune from

liability under N.J.S.A. 59:6-6.    Id. at 541.

      In Predoti v. Bergen Pines County Hospital, the Appellate

Division determined that a hospital was immune under N.J.S.A. 59:6-

6.   463 A.2d 400 (N.J. App. Div. 1983).   The plaintiff, who was

diagnosed as suffering from “schizophrenia chronic undifferentiated

suicidal,” was assigned to the closed ward of the hospital where he

was placed in restraints.    Four days later, he was transferred to a

less-restricted open ward after responding well to treatment.     Id.

at 401.    Two days later, while on an escorted walk for open-ward

patients, the plaintiff detached from the group and was injured by

an automobile when he attempted to cross a highway.    Id. at 402.

The court concluded that the hospital was not liable for the

plaintiff’s injuries under N.J.S.A. 59:6-6 and stated, “Decisions

affecting confinement of the mentally ill are usually highly

predictive and though reasonable can lead to a demonstrably bad

result. . . . By immunizing these difficult decisions the



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Legislature allows them to be made in an appropriate atmosphere

free from the fear of suit.”   Id. at 402-03.

     In McNesby v. State of New Jersey, Department of Human

Services, the Appellate Division again ruled in favor of immunity.

555 A.2d 1186 (N.J. App. Div. 1989).    The plaintiff’s decedent, who

had a history of psychiatric illness and suicidal tendencies, was

involuntarily committed to a psychiatric hospital, and upon his

admittance, the hospital took suicide precautions, which involved

keeping him within the sight of a staff member at all times.

However, after several days, hospital staff determined that these

precautions were no longer necessary, and he was transferred into a

“step-up” ward, where he was allowed intervals of unsupervised

access to the hospital grounds.    Id. at 1187-88.   The plaintiff’s

decedent subsequently set himself on fire, resulting in his death,

and the plaintiff brought suit against the State.    The plaintiff

alleged that, unlike Predoti, she was not claiming negligence based

on the decision to transfer the decedent to a less restrictive

ward, but rather based on the failure to properly supervise the

decedent following the transfer.    Id. at 1189.   On those facts, the

Appellate Division ruled that the State was immune from liability

under N.J.S.A. 59:6-6 because the State did not simply fail to

properly supervise but instead made a deliberate choice to provide

the decedent with unsupervised time, which was an integral part of



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the treatment plan to prepare him for his release to the community.

Id.

      With respect to immunity under N.J.S.A. 59:6-6 in this case,

Movants argue that the gravamen of the Complaint is that the

defendants, who knew or should have known of the decedent’s history

of mental illness, substance abuse, and suicidal tendencies,

cleared the decedent to be released into the general prison

population rather than isolating him or providing him with constant

supervision.   (See, e.g., Byrd’s Mot. to Dismiss at 8, 12.)   Thus,

Movants contend that they are immune from suit because the claims

relate to their alleged failure to properly confine the decedent

based on his mental illness and substance abuse under N.J.S.A.

59:6-6.

      Plaintiffs argue that such immunity is inapplicable here and

N.J.S.A. 59:6-6 immunity relates to “whether to commit a person for

mental illness, as well as the terms and conditions of confinement

‘for mental illness or drug dependence.’”   (Pls.’ Opp’n to DOC

Defs.’ Mot. to Dismiss at 23; Pls.’ Opp’n to Byrd’s Mot. to Dismiss

at 11-12.)   Plaintiffs contend that the Complaint alleges that

decedent was incarcerated, not that he was confined for mental-

health treatment.   (Pls.’ Opp’n to Byrd’s Mot. to Dismiss at 11-12;

Pls.’ Opp’n to DOC Defs.’ Mot. to Dismiss at 23.)   According to

Plaintiffs, the immunity at issue applies only to confinement in



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facilities that render treatment for mental health.      (Pls.’ Opp’n

to Byrd’s Mot. to Dismiss at 12-13.)      With respect to Byrd,

Plaintiffs further argue that part of their claims rests on her

alleged failure to review the decedent’s transfer records and

follow prison protocol, and these actions are outside of the

purview of the immunity conferred by N.J.S.A. 59:6-6.      (Id. at 13-

14.)

        Defendant Byrd responds that, in this case, the confinement

that results in immunity under N.J.S.A. 59:6-6 “is not the

confinement arising from criminal conduct, but rather the choice

not to confine for mental illness.”       (Dkt. entry no. 150, Byrd’s

Reply Br. in Support of Mot. to Dismiss at 6.)5      Byrd analogizes

her decision to release the decedent into the general prison

population to the decision of an emergency room doctor discharging

a patient from a general hospital rather than placing the patient

on suicide watch.      (Id.)   Byrd asserts that the case law

contradicts Plaintiffs’ contention that the confinement for the

purposes of this immunity must be in a mental institution.        (Id. at

6-9.)       Byrd further argues that N.J.S.A. 59:6-6 applies even if

Plaintiffs cast their claims as those for negligent supervision

because “[t]he statutory immunity of N.J.S.A. 59:6-6 applies to all

actions and inactions by the defendant which related to the

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       The DOC Defendants did not reply to the Plaintiffs’
Opposition to their motion to dismiss.

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determination of whether to confine the decedent for mental

illness.”   (Id. at 10-12.)

     The Court agrees with Movants and concludes that they are

immune from liability for Plaintiffs’ state common-law claims based

on N.J.S.A. 59:6-6.   The case law demonstrates wide-ranging

applicability of this type of immunity.     It applies to police

officers confining (or failing to confine) individuals for mental-

health reasons.   See Perona, 636 A.2d at 541.    It applies even

where the potential confinement would not be in a mental

institution, but rather would be in police custody or in another

ward of a hospital not specific to mental health.     See id.;

Predoti, 463 A.2d at 402-03.   The Court therefore rejects

Plaintiffs’ arguments that the potential confinement under this

provision must be in a mental institution.

     The Court is not persuaded by Plaintiffs’ attempts to remove

this case from the realm of the provision’s immunity based on the

fact that the decedent was already confined because he was

incarcerated.    The decision before Movants was whether to further

confine the decedent from the general prison population as a result

of potential mental-health issues.      Movants decided against such

confinement, and therefore, their decision is one considering

“whether to confine a person for mental illness or drug

dependence.”    N.J.S.A. 59:6-6.



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     The Court finds no merit in Plaintiffs’ arguments that these

facts are outside of the provision’s purview because they are

claims for negligent supervision and failure to review transfer

records.   The immunity afforded by N.J.S.A. 59:6-6 applies to all

the decisions and conduct leading up to the decision whether to

confine the individual.   See Ludlow, 702 A.2d at 508.   The

purported failure of Byrd to review the transfer records would be

conduct in the process to the ultimate confinement decision.    And a

claim of negligent supervision implies a duty to supervise, but in

this case, as in McNesby, Movants made a deliberate decision not to

supervise the decedent any more than they would the general prison

population because they did not deem such supervision necessary.

See McNesby, 555 A.2d at 1189.   For these reasons, the Court

concludes that Movants are immune from liability for the state

common-law claims.

     Because the Court finds that Movants are immune from liability

in their individual capacities on the state common-law claims based

on the operation of N.J.S.A. 59:6-6, the Court need not address

their potential immunity under N.J.S.A. 59:6-5.6   Moreover, because

Movants are immune from liability on the New Jersey state-law

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       The DOC Defendants also reference potential immunity under
N.J.S.A. 59:6-4 without elaboration. That section relates to the
failure to make, or to adequately make, a physical or mental
examination. Because the Court has resolved this issue on the
applicability of N.J.S.A. 59:6-6, the Court declines to address
potential immunity under N.J.S.A. 59:6-4.

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claims, the Court declines to consider Byrd’s argument that she is

not a “person” for the purposes of the NJCRA.        (See Byrd’s Mot. to

Dismiss at 16-17.)    And lastly, the Court need not address the DOC

Defendants’ argument that Plaintiffs improperly filed a late Notice

of Claim, in violation of the TCA, N.J.S.A. 59:8-8 and 8-9, which

is a procedural bar to recovery.      (See DOC Defs.’ Mot. to Dismiss

at 14-16.)

     2.      Constitutional Claims

     The immunities established in the TCA do not provide immunity

for the constitutional claims presented under section 1983.        Tice,

627 A.2d at 1105.    The Court will analyze the individual-capacity

constitutional claims for the adequacy of the pleadings and not for

immunity-type issues.

     The Court of Appeals for the Third Circuit has had occasion to

consider under which circumstances liability can be imposed under

section 1983 for prison suicides.         See Colburn v. Upper Darby Twp.,

838 F.2d 663, 667, 669 (3d Cir. 1988) (hereinafter “Colburn I”);

Colburn v. Upper Darby Twp., 946 F.2d 1017, 1023 (3d Cir. 1991)

(hereinafter “Colburn II”).    A plaintiff bringing a section 1983

claim based on a prison suicide “has the burden of establishing

three elements: (1) the detainee had a ‘particular vulnerability to

suicide,’ (2) the custodial officer or officers knew or should have

known of that vulnerability, and (3) those officers ‘acted with



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reckless indifference’ to the detainee’s particular vulnerability.”

Colburn II, 946 F.2d at 1023.    This standard balances two competing

principles.    First, “a section 1983 claim arising from a prisoner’s

suicide is not per se precluded merely because the injury resulted

from the prisoner’s own self-destructive behavior.”        Freedman, 853

F.2d at 1115.    And second, “a prison custodian is not a guarantor

of a prisoner’s safety.”   Id.

     The Court of Appeals for the Third Circuit has declined to

define “reckless indifference” in this standard but stated that it

implies that there was “a strong likelihood,” not just a mere

possibility, of self-harm, and this standard requires that the

custodial officials “‘knew or should have known’ of that strong

likelihood.”    Colburn II, 946 F.2d at 1024.      Relying on the

jurisprudence of sister circuits, the Court of Appeals for the

Third Circuit stated, “Custodians have been found to ‘know’ of a

particular vulnerability to suicide when they have had actual

knowledge of an obviously serious suicide threat, a history of

suicide attempts, or a psychiatric diagnosis identifying suicidal

propensities.”    Id. at 1025 n.1.        With respect to the phrase

“should have known,” the court explained that its meaning is

distinct from its usual meaning for tort-law purposes:

     [The phrase] does not refer to a failure to note a risk
     that would be perceived with the use of ordinary
     prudence. It connotes something more than a negligent
     failure to appreciate the risk of suicide presented by


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     the particular detainee, though something less than a
     subjective appreciation of that risk. The “strong
     likelihood” of suicide must be “so obvious that a lay
     person would easily recognize the necessity for”
     preventative action; the risk of self-inflicted injury
     must not only be great, but also sufficiently apparent
     that a lay custodian’s failure to appreciate it
     evidences an absence of any concern for the welfare of
     his or her charges.

Id. at 1025 (internal citation omitted).

     The Court of Appeals for the Third Circuit in Colburn I and

Colburn II had the opportunity to analyze the standard for a

section 1983 claim based on a prison suicide both at the motion-to-

dismiss stage and the summary-judgment stage.    In that case,

Melinda Lee Stierheim, who was visibly intoxicated, was taken into

custody by the Upper Darby police.     Colburn I, 838 F.2d at 664.

Diane Miller, a custodial official with the Upper Darby police

department, searched her, but did not find a handgun.    Id. at 665.

About four hours later, Stierheim shot herself in her cell with a

handgun.   Id.   Stierheim’s mother, Sue Ann Colburn, as the

administratrix of Stierheim’s estate sued the town, the police

department, Miller, and several other individuals under section

1983 for deprivation of Stierheim’s constitutional rights.     Id.

     The court, in the decision on the motion to dismiss, detailed

the allegations of the complaint to determine whether they were

insufficient as a matter of law to assert section 1983 claims based

on a prison suicide against custodial officials in their individual



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capacities.   Id. at 670.7    These facts included that: (1) the

police were familiar with Stierheim from previous encounters as a

result of her relationship with gang members; (2) the day before

her suicide, the police had been called to her apartment after she

had jumped out of a window during a fight with her boyfriend; (3)

Stierheim was depressed; (4) she had obvious scars on her wrist

from a prior suicide attempt; (5) an officer had to prevent her

from swallowing three Valium pills that she had in her purse; (6)

she was detained “for her own protection” by police; and (7) Miller

discovered a round of ammunition in Stierheim’s pocket.      Id.   On

the basis of these facts, the court ruled that it could not

conclude that these allegations were insufficient as a matter of

law to state a section 1983 individual-capacity claim against

Miller, the custodial official who had searched Stierheim and had

failed to discover the handgun in her possession.     Id.

     Following the remand in Colburn I and further development of

the record during discovery, the court granted summary judgment in

favor of the defendant.      Colburn II, 946 F.2d at 1027.   Further

discovery revealed that the incident where Stierheim jumped out a

window the day before her suicide did not appear to be a suicide


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       The court was relying not only on the complaint but also on
the plaintiff’s memorandum in opposition to the motion to dismiss,
which detailed specific facts that could be asserted in an amended
complaint depending on the court’s ruling on the motion to dismiss.
Colburn I, 838 F.2d at 670.

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attempt but rather an effort to escape from her boyfriend.     Id. at

1026.    She accepted help from police officers in getting down when

they arrived.    Id.

        With respect to the other allegations regarding what Miller

knew on the night in question, the court explained that while a

trier of fact may infer that scars on Stierheim’s arms were the

result of a suicide attempt, the record demonstrated that no one

noticed these scars on the evening of her suicide.     Id.   Nothing in

the record developed through discovery indicated “that Stierheim

had ever been diagnosed as suffering from a mental illness

characterized by a high risk of self-inflicted harm” or that there

was any other indication that Stierheim was vulnerable to suicide.

Id.   While the plaintiff had relied on Stierheim’s intoxication as

an indicator of vulnerability to suicide, the court noted its

agreement with the majority of other circuits, “which have refused

to recognize intoxication as a factor sufficient to trigger the

duty to guard against self-inflicted injury.”    Id.   The court

further reasoned that Stierheim’s possession of a bullet -- that

was discovered by Miller during the search -- without more, was not

an indicator of suicidal tendencies.    Id. at 1027.   Finally, the

court concluded that, while consumption of a large quantity of

drugs could manifest suicidal intent, the three pills that Miller




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believed that Stierheim had tried to swallow were insufficient to

“make it apparent that a detainee is on the verge of suicide.”          Id.

     The court was convinced, following the development of the

record through discovery, “that no fair-minded jury could conclude

. . . that Stierheim had a particular vulnerability to suicide of

which Miller should have been aware.”      Id.   Thus, the court

affirmed the district court’s grant of summary judgment in favor of

Miller.   Id.

     Following Colburn I and Colburn II, the Court of Appeals for

the Third Circuit has had several opportunities to apply the

standard for section 1983 claims based on prison suicides.         In

Freedman v. City of Allentown, the court found that the plaintiffs’

allegations that the decedent prisoner had prominent scars on his

wrists, when viewed in the light most favorable to the plaintiffs,

amounted merely to negligence and did not state a viable section

1983 claim.     853 F.2d at 1116.   While there were allegations that

the decedent prisoner had suicidal tendencies and had previously

attempted suicide, the allegations did not suggest that this was

known to the individual police officers but rather that the

probation officer knew about the decedent’s suicidal past and

failed to mention it to the officers.      Id. at 1115.   For these

reasons, the court affirmed the dismissal of the complaint against

the police officers.    See id. at 1116.



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     Similarly, in Kulp v. Veruete, following discovery, the court

affirmed the district court’s grant of summary judgment where the

defendants had recognized that the decedent had some emotional

issues and potentially “passive suicidal thoughts,” but two

counselors, after extended evaluations, did not think it was

necessary to place the decedent on suicide watch.   267 Fed.Appx.

141, 144 (3d Cir. 2008).

     Where the allegations in the complaint demonstrate concrete,

direct knowledge on the part of the defendant officials of the

decedent’s suicidal tendencies and an inexplicable disregard of the

warning signs, a motion to dismiss should be denied.   For example,

in Tatsch-Corbin v. Feathers, the complaint averred that the

decedent was released into the general prison population as opposed

to being placed on suicide watch even though: the defendant

officials had specific, direct knowledge of the decedent’s history

of mental-health issues and suicide attempts; the decedent

indicated he was considering killing himself to an intake officer;

and the decedent made additional suicide threats to prison

officials as he was escorted to and from a hearing the day before

his suicide.   561 F.Supp.2d 538, 540-542 (W.D. Pa. 2008).   The

United States District Court for the Western District of

Pennsylvania concluded on these facts that a jury could find that




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officials acted with deliberate indifference to the decedent’s

condition and, thus, denied the motion to dismiss.      Id. at 544.

     Plaintiffs in this case argue that the standard for section

1983 liability in prison suicide cases is established by the facts.

Plaintiffs assert that Defendants’ “failure to follow protocol

despite specific knowledge that it could lead to self-inflicted

harm, including the failure to properly monitor and supervise the

inmate in his cell and/or allow bedsheets in the cell among other

failures can amount to deliberate indifference sufficient to impose

individual liability.”     (Pls.’ Opp’n to DOC Defs.’ Mot. to Dismiss

at 19.)

     The Court will consider this standard with respect to the

allegations against the defendants individually.      According to the

Complaint, Dimler was responsible for supervising the decedent once

he had been released into the general prison population through the

time of his suicide.   (Compl. at ¶ 26.)     Teel was the medical

provider responsible for the decedent’s care and supervision from

the time he was placed in the general prison population until his

death.    (Id. at ¶ 32.)   Dimler and Teel “knew or should have known

of the history of suicide and psychiatric illness suffered by” the

decedent and that the decedent was an addict at a high risk for

suicide.   (Id. at ¶¶ 27, 33, 62.)      According to the Complaint, both

disregarded the decedent’s risk of suicide and violated policy and



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procedure, by failing to adequately monitor the decedent, allowing

him to be in his cell with materials that could harm him, and

failing to intervene to prevent the suicide.    (Id. at ¶¶ 28-29, 34-

35, 60, 61.)   The Complaint also asserts that Dimler and Teel

failed to review the transfer records from Kintock in order to

determine what level of supervision was required.   (Id. at ¶ 36,

62.)   Dimler and Teel also purportedly failed to evaluate the

decedent for intoxication as was required by prison policy and

procedure.   (Id. at ¶ 53.)

       The Court finds that the conclusory allegations with respect

to Dimler and Teel are insufficient as a matter of law and fail to

demonstrate -- even when viewed with all inferences in Plaintiffs’

favor -- that they would have had any reason to be concerned about

the decedent’s risk of suicide.   See Freedman, 853 F.2d at 1114

(stating that court must look past conclusory allegations).   With

respect to the allegations that Dimler and Teel failed to review

the transfer records or evaluate the decedent for intoxication, the

Court finds that these conclusory allegations, even if taken as

true, would merely establish negligence and would fall short of the

reckless indifference required by Colburn II.    946 F.2d at 1023.

Plaintiffs have not pled -- beyond conclusory statements that

merely restate the legal standard -- actual knowledge on the part

of Dimler or Teel.   Id. at 1025 n.1.   Nor have Plaintiffs pled that



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they “should have known” of the decedent’s vulnerability to

suicide, as the Complaint fails to point to any actions of the

decedent that would have alerted Dimler or Teel to the fact that he

was a suicide risk.   Plaintiffs have not alleged how Teel and

Dimler, in the course of their duties, would have been aware of the

decedent’s particular vulnerability.    This “should have known”

standard requires “something more than a negligent failure to

appreciate the risk of suicide,” and the Complaint, viewed in the

light most favorable to Plaintiffs, does not provide allegations

capable of satisfying this standard.    Id. at 1025.    Therefore, the

Complaint will be dismissed in its entirety as to Dimler and Teel.

     In contrast, the Court finds that the Complaint, when viewed

in the light most favorable to Plaintiffs with all inferences drawn

in their favor, states a claim against Byrd in her individual

capacity under section 1983 for a prison suicide.      The Complaint

alleges that Byrd performed a nursing intake on January 16, 2009

and noted that the decedent had answered in the affirmative to

questions regarding whether he had a history of suicidal tendencies

and whether he had been hospitalized or treated for psychiatric

illness.    (Compl. at ¶ 50.)   Despite this, Byrd purportedly cleared

the decedent to be placed into the general prison population.      (Id.

at ¶ 59.)   The Court finds that these specific allegations of

Byrd’s basis for knowledge of the decedent’s vulnerability to



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suicide are sufficient to overcome a motion to dismiss.    Colburn II

-- in reliance of the jurisprudence of other circuits --

specifically states that actual knowledge may be based on a history

of suicidal tendencies.    946 F.2d at 1025 n.1.   Plaintiffs have

adequately pled a section 1983 individual-capacity claim against

Byrd following a prison suicide based on her actual knowledge of

the decedent’s particular vulnerability.

         Plaintiffs request that, if the Court deems any of the claims

insufficient (for example the individual-capacity claims against

Dimler and Teel), the Court permit additional discovery to assist

in the development of the claims in the Complaint.    (Pls.’ Opp’n to

Byrd’s Mot. to Dismiss at 15-16; Pls.’ Opp’n to DOC Defs.’ Mot. to

Dismiss at 24.)    The Court concludes that the lack of specificity

is not “fairly attributable to the defendants’ control of required

information.”    See Freedman, 853 F.2d at 1114.   The Court finds

that these allegations seek to impose liability against these

defendants on a negligence standard, which is not permitted for

prison suicide cases.    Therefore, the Court declines to permit

discovery to allow development of the claims against Dimler and

Teel.

C.      Supervisory Liability

        With regard to the liability of the Supervisory Defendants,

Plaintiffs refer to federal jurisprudence on section 1983 municipal



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liability under Monell v. Department of Social Services of the City

of New York, 436 U.S. 658 (1978).      (See Pls.’ Opp’n to DOC Defs.’

Mot. to Dismiss at 14-16.)   In contrast to state government

defendants, the Eleventh Amendment does not bar damage awards

against municipalities and municipal officials in their official

capacity.   Monell, 436 U.S. at 690 n.54, 55.    Likewise, municipal

officers named in their official capacities are “persons” for

section 1983 purposes.   Id. at 690 n.55.

       The one municipal defendant here -- Mercer County -- was

dismissed from the action by stipulation of the parties on March

22, 2011.   (See Stip. of Dismissal as to Mercer County.)

Plaintiffs and Movants consistently treat all the individual

defendants as state officials, not municipal officials.     As

discussed, these officials enjoy immunity under the Eleventh

Amendment when sued in their official capacity.     Thus, Plaintiffs’

citations to municipal liability under Monell and its progeny are

irrelevant.   (See Pls.’ Opp’n to DOC Defs.’ Mot. to Dismiss at 14-

16.)

       Notwithstanding Monell’s inapplicability, supervisory

liability under section 1983 is possible.     However, such liability

must be premised on the supervisory defendant’s personal

involvement in the wrongs; “it cannot be predicated solely on the

operation of respondeat superior.”     Rode v. Dellarciprete, 845 F.2d



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1195, 1207 (3d Cir. 1988); see also Polk Cnty. v. Dodson, 454 U.S.

312, 325 (1991).

     There are two theories under which supervisory liability may

be premised for section 1983 purposes.   A.M. v. Luzerne Cnty. Juv.

Det. Ctr., 372 F.3d 572, 586 (3d Cir. 2004).    First, “[i]ndividual

defendants who are policymakers may be liable under § 1983 if it is

shown that such defendants, with deliberate indifference to the

consequences, established and maintained a policy, practice or

custom which directly caused [the] constitutional harm.”   Id.

(internal quotations and citation omitted).    Second, “a supervisor

may be personally liable under § 1983 if he or she participated in

violating the plaintiff’s rights, directed others to violate them,

or, as the person in charge, had knowledge of and acquiesced in his

subordinates’ violations.”   Id.; see also Rode, 845 F.2d at 1207.

This second theory essentially requires that the acts or omissions

of the supervisor were the “moving force” behind the harm.   Sample

v. Diecks, 885 F.2d 1099, 1118 (3d Cir. 1989); Jackson v. Taylor,

No. 05-823, 2006 WL 2347429, at *2 (D. Del. May 12, 2006).

“Allegations of participation or actual knowledge and acquiescence,

however, must be made with appropriate particularity.”   Rode, 845

F.2d at 1207.

     The DOC Defendants argue that, based on the foregoing, the

Complaint is deficient with respect to the Supervisory Defendants –



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- Balicki, Patterson, and Dunlap-Pryce.   Specifically, the DOC

Defendants argue that the Complaint lacks specific facts regarding:

(1) the conduct of the Supervisory Defendants; and (2) which policy

or procedure they failed to follow or implement.     (DOC Defs.’ Mot.

to Dismiss at 12-14.)   Plaintiffs counter that the alleged facts

demonstrate “both the direct knowledge and participation of the

Supervisory Defendants in obtaining and reviewing transfer records

of inmates in their facilities” and that the Supervisory Defendants

failed “to enact, implement and enforce policies and procedures”

for: (1) the review of transfer records; and (2) the treatment of

individuals with addiction/intoxication issues or who pose a risk

of self-harm/suicide.   (Pls.’ Opp’n to DOC Defs.’ Mot. to Dismiss

at 18.)   Plaintiffs claim that this “foreseeably led to the suicide

of Mullin and which evidenced a gross indifference and reckless

disregard for the rights of” the decedent.   (Id.)   Plaintiffs argue

that it is unreasonable to expect them to be able to identify the

exact policy at issue, as, without discovery, Plaintiffs do not

have access to internal department policies and procedures.    (Id.

at 19.)

     The Court of Appeals for the Third Circuit has addressed

claims against supervisory defendants in the prison suicide context

under similar facts.    In Colburn I, despite allowing the claims to

proceed over a motion to dismiss against the custodial official who



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was personally involved in alleged wrongdoing, the court dismissed

the claims against the supervisory defendants -- the police

commissioner of Upper Darby Township and the mayor of Upper Darby -

- in their individual capacities because the complaint lacked

allegations that these supervisory defendants were personally

involved in any of the activities related to the decedent’s

suicide.   Colburn I, 838 F.2d at 673.

     The Court finds the Complaint in this case to be similarly

deficient with respect to the Supervisory Defendants.        The

Complaint identifies Balicki, Patterson, and Dunlap-Pryce as

“supervisory official[s].”   (Compl. at ¶¶ 2-4.)    The Complaint

alleges that the decedent was in the custodial care of the

Supervisory Defendants and that agents of the Supervisory

Defendants examined the decedent.      (Id. at ¶¶ 37, 39.)   The

Complaint alleges that the Supervisory Defendants “knew or should

have known based on daily intake records at their disposal that”

the decedent was being transferred to their care and that he had a

history of suicide attempts, psychiatric problems, and drug abuse.

(Id. at ¶ 63.)   Under policy and procedure, Plaintiffs aver that

the Supervisory Defendants were required to know the status of

inmates brought into their facilities and to review the transfer

records.   (Id. at ¶ 64.)   Plaintiffs allege that the Supervisory

Defendants failed to review these records and to ensure that the



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decedent was properly treated as a suicide risk.    (Id. at ¶ 65.)

Finally, Plaintiffs assert that the Supervisory Defendants failed

to enact and enforce policies and procedures requiring the review

of transfer records and the proper treatment of those who had

addiction problems or who were a suicide risk.    (Id. at ¶ 66.)

     The Court finds that, as in Colburn I, these allegations are

insufficient to survive a motion to dismiss.    The Complaint lacks

any allegations that these Supervisory Defendants were personally

involved in the actions at issue.     See Colburn I, 838 F.2d at 673.

Plaintiffs do not allege that these Supervisory Defendants

participated, directed, or acquiesced in the violation of the

decedent’s rights.   See A.M., 372 F.3d at 586.

     While Plaintiffs also seek to hold the Supervisory Defendants

liable under the policy or practice theory of supervisory

liability, see id., the Court finds that the Complaint is far too

conclusory with respect to any deficiencies in any policy or

practice.   And while Plaintiffs have argued that it is unreasonable

to expect them to identify the policy or procedure without

discovery, the Court will not allow a fishing expedition into the

operations of the state department of corrections absent any

indication by Plaintiffs that such discovery will be fruitful.     For

these reasons, the Court will dismiss the claims asserted against

the Supervisory Defendants in their entirety.



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D.   Punitive Damages

     Plaintiffs have requested punitive damages against the

individual defendants.    Punitive damages are available for section

1983 claims when the conduct of the defendant “involves reckless or

callous indifference to the federally protected rights of others.”

Smith v. Wade, 461 U.S. 30, 56 (1983).     This is true even when the

underlying liability standard for compensatory damages is that of

recklessness.    Id.   Where the facts allege reckless conduct, and

the allegations of the complaint with respect to that conduct are

found to be sufficient to withstand a motion to dismiss, a court

may decline to dismiss punitive-damage claims at the motion-to-

dismiss stage.   See, e.g., Tatsch-Corbin, 561 F.Supp.2d at 545.

     The claims asserted against the majority of the defendants

will be dismissed, thereby resulting in the dismissal of the

punitive-damage claims against these defendants as well.    However,

with respect to Byrd, the Court has found that the Complaint

adequately pleads a claim for relief.     Therefore, the Court

declines to dismiss Plaintiffs’ request for punitive damages

asserted against Byrd at his juncture.

                              IV.   CONCLUSION

     The Court for the reasons stated above, will (1) grant the

motion to dismiss by Balicki, Patterson, Dunlap-Pryce, Dimler and

Teel, (2) deny the motion for judgment on the pleadings by Byrd



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insofar as it concerns individual-capacity, constitutional claims

asserted against her, and (3) otherwise grant Byrd’s motion.

Remaining before the Court in this matter are Plaintiffs’ claims

against Kintock (which did not move to dismiss any claims) and the

constitutional claims against Byrd in her individual capacity.   The

Court will issue an appropriate Order.



                                        s/ Mary L. Cooper        .
                                     MARY L. COOPER
                                     United States District Judge


Date:     November 1, 2013




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